DOCUMENTS UNDER SEAL
                    Case 5:07-cr-00340-RMW Document 22 Filed 08/31/21 Page 12 of 1
                                                         TOTAL TIME (m ins):
M AGISTRATE JUDGE                        DEPUTY CLERK                               REPORTER/DIGITAL RECORDING:
M INUTE ORDER                           P. Cromwell                                 Zoom 1:35-1:37 pm
MAGISTRATE JUDGE                         DATE                                       NEW CASE         CASE NUMBER
Virginia K. DeMarchi                     August 31, 2021                                           5:07-cr-00340-RMW
                                                     APPEARANCES
DEFENDANT                                AGE       CUST  P/NP   ATTORNEY FOR DEFENDANT                   PD.      RET.
Daniel Victoria-Bentancourt                        Y        P       Severa Keith                         APPT.
U.S. ATTORNEY                            INTERPRETER                               FIN. AFFT            COUNSEL APPT'D
Daniel Kassabian                         Spanish - Lupita Arce                     SUBMITTED

PROBATION OFFICER             PRETRIAL SERVICES OFFICER             DEF ELIGIBLE FOR             PARTIAL PAYMENT
Anthony Cardenas                                                    APPT'D COUNSEL               OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                         STATUS
                                                                                                           TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT            BOND HEARING              IA REV PROB. or         OTHER
                                                                                   or S/R
       DETENTION HRG              ID / REMOV HRG         CHANGE PLEA               PROB. REVOC.            ATTY APPT
                                                                                                           HEARING
                                                    INITIAL APPEARANCE
        ADVISED                  ADVISED                NAME AS CHARGED               TRUE NAME:
        OF RIGHTS                OF CHARGES             IS TRUE NAME
                                                       ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON             READING W AIVED              W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT               SUBSTANCE
                                                        RELEASE
      RELEASED           ISSUED                     AMT OF SECURITY        SPECIAL NOTES                PASSPORT
      ON O/R             APPEARANCE BOND            $                                                   SURRENDERED
                                                                                                        DATE:
PROPERTY TO BE POSTED                         CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION           PRETRIAL               DETAINED          RELEASED      DETENTION HEARING             REMANDED
      FOR              SERVICES                                               AND FORMAL FINDINGS           TO CUSTODY
      DETENTION        REPORT                                                 W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                            PLEA
   CONSENT                      NOT GUILTY                 GUILTY                    GUILTY TO COUNTS:
   ENTERED
   PRESENTENCE                  CHANGE OF PLEA             PLEA AGREEMENT            OTHER:
   REPORT ORDERED                                          FILED
                                                       CONTINUANCE
TO:                               ATTY APPT               BOND                     STATUS RE:
September 13, 2021                HEARING                 HEARING                  CONSENT                TRIAL SET

AT:                               SUBMIT FINAN.            PRELIMINARY             CHANGE OF             STATUS
                                  AFFIDAVIT                HEARING                 PLEA
1:00 pm                                                    _____________
BEFORE HON.                       DETENTION                ARRAIGNMENT             MOTIONS                JUDGMENT &
                                  HEARING                                                                 SENTENCING
Cousins
       TIME W AIVED               TIME EXCLUDABLE          IDENTITY /              PRETRIAL               PROB/SUP REV.
                                  UNDER 18 § USC           REMOVAL                 CONFERENCE             HEARING
                                  3161                     HEARING
                                               ADDITIONAL PROCEEDINGS
All appearances by Zoom. Defendant consents to proceed by Zoom.


                                                                                        DOCUMENT NUMBER:
